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   Assistant U.S. Attorney
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 4 Telephone: (916) 554-2724
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 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
                                         )
11 UNITED STATES OF AMERICA,             )    CASE NO. CR. S-11-0467 JAM
                                         )
12                    Plaintiff,         )    STIPULATION AND
                                         )    ORDER SETTING STATUS CONFERENCE
13 v.                                    )
                                         )
14 ZHORA DARMOYAN,                       )
   MARAT GALOYAN,                        )
15 MARTIN ATOYAN, and                    )
   KRISTINE ATOYAN,                      )
16                                       )
                    Defendants.          )
17
18      IT IS HEREBY stipulated between the United States of America
19 through its undersigned counsel, Assistant United States Attorney R.
20 Steven Lapham, and defendant Zhora Darmoyan through his undersigned
21 counsel Dwight Samuel, defendant Marat Galoyan through his undersigned
22 counsel Christopher Haydn-Myer, defendant Martin Atoyan through his
23 undersigned counsel J. Toney, and defendant Kristine Atoyan through
24 her undersigned counsel Kresta Nora Daly, that court may set a status
25 conference in this case on January 24, 2012 at 9:30 a.m.
26      This continuance is necessary because the original status
27 conference that was set before Judge Karlton was vacated when the case
28 was reassigned to Judge Mendez.

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 1     The parties stipulate that this case is complex and that the
 2 government has recently produced over 4400 pages of discovery that
 3 will have to be reviewed by defense counsel before further proceedings
 4 in the case.   The parties therefore agree that the interests of
 5 justice served by granting this continuance outweigh the best
 6 interests of the public and the defendant in a speedy trial. 18 U.S.C.
 7 § 3161(h)(8)(A), and that time may therefore be excluded from the
 8 computations of the Speedy Trial Act from November 4, 2011 through and
 9 including January 24, 2012.
10 DATED: December 19, 2011
11
                                          BENJAMIN B. WAGNER
12                                        United States Attorney
13
                                       By: /s/ R. Steven Lapham
14                                        R. STEVEN LAPHAM
                                          Assistant U.S. Attorney
15
16
17 Dated: December 19, 2011                 /s/ Dwight Samuel
                                          DWIGHT SAMUEL
18                                        Attorney for Defendant
                                           Zhora Darmoyan
19
20 Dated: December 19, 2011                 /s/ Christopher Haydn-Myer
                                          CHRISTOPHER HAYDN-MYER
21                                        Attorney for Defendant
                                           Marat Galoyan
22
23 Dated: December 19, 2011                 /s/ J Toney
                                          J TONEY
24                                        Attorney for Defendant
                                           Martin Atoyan
25
26 Dated: December 19, 2011                 /s/ Kesta Nora Daly
                                          KRESTA NORA DALY
27                                        Attorney for Defendant
                                           Kristine Atoyan
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 1                                     O R D E R
 2
     IT IS SO ORDERED.
 3
     Dated: 12/22/2011                /s/ John A. Mendez
 4                                    HON. JOHN A. MENDEZ
                                      United States District Judge
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